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February 26" 2022

To Whom It May Concern:

| am a neighbor of Ross Roggio. When | moved to the neighborhood Ross was the first person to
greet me and he went to great lengths to make me feel welcomed, even inviting me into his home to

share a meal with his parents.

Ross is a full time caretaker for both of his elderly parents. He also treats his neighbors and friends
with the same helpful dedication. He is the first person to pull out the snowblower after every storm
and clean all of our driveways, and will always happily volunteer to help out with any projects that
require extra manpower.

Ross is a man of great integrity and dedication and | am grateful to have him as a neighbor and

friend.
Ross Roggio represents the best kind of neighbor in the community.

Yours sincerely,

Synoo Bw

Swee Phuah
225 Auer Ln
Stroudsburg,
PA 18360

@ DEFENDANT'S
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